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                                       #247



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                  )
                                           )
Plaintiff,                                 )
                                           )
vs.                                        )
                                           )
LAWRENCE KENILEY,                          )
                                           )
Defendant.                                 )                      No. 06-CR-30138


                                       ORDER

HERNDON, District Judge:

             Before the Court is a motion to continue trial submitted by Defendant

Lawrence Keniley. (Doc. 153.) The motion is unopposed. The Court finds that the

trial should be postponed because Defendant Keniley’s counsel was only recently

appointed to the case and requires more time to prepare due to the volume of

discovery in this matter. Failure on the Court’s part to continue this trial would work

a manifest miscarriage of justice by forcing this Defendant to go to trial unprepared.

Furthermore, by resetting this case, efficiencies of court resources are utilized since

the Court can set this case with that of the Defendant’s co-defendants, which is

appropriate since no defendant has filed a motion to sever and the Court has not sua

sponte entered a severance order in this matter. Consequently, the Court finds that

pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends of justice served by the granting of

such a continuance outweigh the interests of the public and Defendant Keniley in a


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speedy trial for the reasons stated.    Therefore, the Court GRANTS Defendant

Keniley’s motion to continue (Doc. 153) and continues the trial scheduled for

January 8, 2007 for Defendant Keniley until February 12, 2007 at 9:00 a.m.

            The time from the date Defendant Keniley’s motion was raised,

December 5, 2006, until the date on which the trial is rescheduled, February 12,

2007, is excludable time for the purposes of speedy trial.

            IT IS SO ORDERED.

            Signed this 6th day of December, 2006.



                                             /s/     David RHerndon
                                                     United States District Judge




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